                Case 2:20-cv-00547-RSM Document 12 Filed 10/21/20 Page 1 of 3




 1                                                               The Honorable Ricardo S. Martinez
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                                   UNITED STATES DISTRICT COURT FOR THE
 8
                                     WESTERN DISTRICT OF WASHINGTON
 9                                             AT SEATTLE
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11
     ANNIE KANNIKA and YOEUN                              2:20-cv-00547-RSM
12
     PHOEUN,
                                                          STIPULATED MOTION AND
13
                                        Plaintiffs,       ORDER FOR EXTENSION TO
14                                                        BRIEFING SCHEDULE
                              v.
15
   UNITED STATES CITIZENSHIP AND
                                                          Note on Motion Calendar:
16 IMMIGRATION SERVICES, et al.
                                                          October 20, 2020
17
                                        Defendants.
18
19                                                    STIPULATION
20
              Plaintiffs have requested a two-week extension of the October 19, 2020 deadline to file
21
     their motion for summary judgment; the deadlines were set forth in the parties’ previous
22
23 stipulation and the Court’s order. (Dkt. #9, 10). Defendants do not oppose the request.
24            Therefore, the parties propose the following amended briefing schedule for the filing of
25 summary judgment motions and any responses thereto:
26
              1. Plaintiffs shall file a motion for summary judgment, which must not exceed twenty-
27
28                four pages, no later than November 2, 2020 and note it on the motion calendar for

                  March 19, 2021;
      Stipulation and Order                                                UNITED STATES ATTORNEY
      20-cv-00547-RSM - 1                                                  700 STEWART STREET, SUITE 5220
                                                                             SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
               Case 2:20-cv-00547-RSM Document 12 Filed 10/21/20 Page 2 of 3




 1           2. Defendants shall file their combined response and cross motion for summary
 2               judgment, which must not exceed twenty-four pages, no later than January 11, 2021
 3
                 and note it on the motion calendar for March 19, 2021;
 4
             3. Plaintiffs shall file their combined response to Defendants’ motion and reply to
 5
 6               Plaintiffs’ motion, which must not exceed twelve pages, no later than February 15,

 7               2020.
 8
             4. Defendants shall file their reply, which must not exceed twelve pages, in support of
 9
                 their motion no later than March 19, 2021.
10
11     Dated this 20th day of October, 2020.            Dated this 20th day of October, 2020.

12     WILLIAM FRICK                                    BRIAN T. MORAN
                                                        United States Attorney
13
14      s/ William Frick                                 s/ Sarah K. Morehead
                                                        SARAH MOREHEAD, WSBA No. 29680
       WILLIAM FRICK, WSBA No. 26648
15                                                      Assistant United States Attorney
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                                                        United States Attorney=s Office
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       Seattle, WA 98104
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19     Attorney for Plaintiffs                          Attorney for Defendants
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     Stipulation and Order                                                UNITED STATES ATTORNEY
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                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
               Case 2:20-cv-00547-RSM Document 12 Filed 10/21/20 Page 3 of 3




 1                                                   ORDER

 2
             The parties having so stipulated, IT IS ORDERED that the parties will comply with the
 3
 4 above stipulated briefing schedule.
 5
             Dated this 21st day of October, 2020.
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 7
 8
 9
                                                     A
                                                     RICARDO S. MARTINEZ
                                                     CHIEF UNITED STATES DISTRICT JUDGE
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     Stipulation and Order                                              UNITED STATES ATTORNEY
     20-cv-00547-RSM - 3                                                700 STEWART STREET, SUITE 5220
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